  Case 21-41504         Doc 11    Filed 01/05/22 Entered 01/05/22 09:11:46
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                                                                                   01/05/2022
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

                                                      )
 In re:                                               )
                                                      )      Case No. 21-41504
 OVERWATCH TECHNOLOGIES, INC.                         )
                                                      )      Chapter 7
                         Alleged Debtor.              )

                AGREED ORDER DISMISSING INVOLUNTARY PETITION

          Before the Court is the Joint Motion to Dismiss Involuntary Petition (the “Motion”) filed

by petitioning creditors Colepin Pty Limited as trustee for Barrett and Sons Trading Co Super

Fund, Mossco Capital, Inc., and Gary Snow (the “Petitioning Creditors”) and the alleged debtor

Overwatch Technologies, Inc. (the “Alleged Debtor”) (the “Motion”). Upon agreement of the

Petitioning Creditors and the Alleged Debtor, the Motion is hereby GRANTED.

          Accordingly, it is hereby ORDERED that the above-captioned bankruptcy case is

DISMISSED.
                                                           Signed on 1/5/2022

                                                                                             YM
                                                 HONORABLE BRENDA T. RHOADES,
                                                 CHIEF UNITED STATES BANKRUPTCY JUDGE


Agreed in Substance and Form:
 /s/R. J. Shannon                                  /s/Terry Fokas
 TX Bar No. 24108062                               TX Bar No. 24027309
 700 Milam Street, Suite 1300                      17330 Preston Road, Suite 200D
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 Counsel to the Petitioning Creditors              Counsel to the Alleged Debtor
